                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF TENNESSEE
                                       NASHVILLE DIVISION




UNITED STATES OF AMERICA                                           )
                                                                   )
                                                                   )
v.                                                                 )       3:96-00120
                                                                   )
EARL MORRIS, et al.                                                )



                                                 ORDER


         Before the Court is Defendant Earl Morris’ Motion to Terminate Supervised Release and Declaration,

Document #705, and the Government’s Response, Document #707.

         Defendant’s Motion to Terminate Supervised Release, Document #705, is DENIED. Movant has only

served one year of a five-year sentence of supervision. The Court is confident that the Probation Office will

use only that amount of supervision necessary and will be mindful of Movant’s physical condition.

         It is so ORDERED.




                                                  Thomas A. Wiseman, Jr.
                                                  Senior U.S. District Judge




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